






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00262-CV






Randall Ross Tawater, Appellant



v.



Stacy Lynn Tawater, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT


NO. FM305982, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	Appellant's notice of appeal was received on April 23, 2004, contained in the clerk's
record from Travis County.  Appellant did not file a copy of that notice with this Court.  See Tex.
R. App. P. 25.1(e) (copy to be filed with appellate court).  A review of the clerk's record shows that
the notice of appeal was filed late in the district clerk's office.  See Tex. R. App. P. 25.1(a) (appeal
perfected when notice of appeal filed with trial court clerk).  By letter of May 11, 2004, appellant
was advised of the late filing and given the opportunity to cure the defect, such as by providing proof
of timely mailing.  See Tex. R. App. P. 9.2(b).  To date, no response of any kind has been received. (1)

	Accordingly, given that the record shows the notice of appeal was late, this Court has 
no jurisdiction over the appeal and must dismiss it.  See Industrial Servs. U.S.A., Inc. v. American
Bank, N.A., (Tex. App.--Corpus Christi 2000, no pet.); Tex. R. App. P. 29.1(b), 42.3 (a).



					                                                                                     

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Kidd and B. A. Smith

Dismissed for Want of Jurisdiction

Filed:   June 24, 2004

1.        Appellant has neither paid the filing fees for the appeal nor tendered an affidavit of indigency. 
See generally Tex. Gov't Code Ann. § 51.207 (West Supp. 2004); Tex. R. App. P. 20.

